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     KENNETH RICHARD ROWELL
 5
                            UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF WASHINGTON

 7   UNITED STATES OF AMERICA,                   )
                                                 )      CR-13-6070-WFN
 8            Plaintiff,                         )
                                                 )      ORDER GRANTING MOTION
 9     vs.                                       )      FOR DISCOVERY AND
                                                 )      PRETRIAL DISCLOSURES
10   KENNETH RICHARD ROWELL,                     )
                                                 )
11            Defendant.                         )
                                                 )      (PROPOSED)
12
             BEFORE THE COURT is Defendant’s Motion for Discovery and
13

14
     Pretrial Disclosures (Ct. Rec. __). For the reasons set forth in Defendant’s

15   motion, IT IS HEREBY ORDERED that Defendant’s Motion for Discovery

16   and Pretrial Disclosures (Ct. Rec. __) is GRANTED. The district court
17
     executive is directed to enter this order and provide copies to counsel.
18
     DATED this ___ day of _______, 20__.
19

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                                         ___________________________________
                                             WM. FREMMING NIELSEN
22                                        UNITED STATES DISTRICT JUDGE

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     ORDER                                       1
